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WRITTEN OBJECTION AND LEGAL BRIEF PREPARED BY . 405, oO -ouy opens. |

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DAVID L. WEIN
JAN 3-1 2014 |

 

BANKRUPTCY CASE 13-27331-EEB i

 

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US Bankruptcy Court for the District of Colorado January 28, 2014
Honorable Elizabeth E. Brown
Courtroom C501

Honorable Judge Brown,

My name is David L. Wein, and I am vehemently writing you today in reference to Mr.
Mark T. Schwab’s Chapter 13 Bankruptcy case. (Exhibit 1, Official Form 10). I am one of
three founders of Ephor, Inc., located in Colorado Springs, Colorado, which is a multi-
million dollar mid stage growth company that trains Special Forces soldiers. Mr. Mark T.
Schwab and Mr. James H. Taylor and I founder Ephor, Inc. in 2009, and I spent 2010
working full time for Ephor, Inc. to develop and capture lucrative contracts for Prime
Contractors under the U.S. Government.

In early 2011 we won our first multi-million dollar contract with Raytheon and were on
our way toward success, just weeks before Mr. Schwab and Mr. Taylor decided to take
control of the company, including my property and a large amount of unpaid compensation.
They hired the largest law firm in Colorado Springs, Sherman and Howard LLC, which I
believe they thought would allow them to successfully win default or other court
judgments. In March of 2011, case 2011CV1883 was initiated, and by May 2011 I was
served and had filed my counter claims with the District Court in El Paso County and
subsequently retained counsel on my behalf. Mr. Schwab and Mr. Taylor (two of four
original conspirators) were added to 2011CV1883 in September 2011 as third party
defendants, just three months before Judge McHenry of the District Court ordered Ephor,
Inc. to pay Indemnification of $100,000 to me. In January 2012 Mr. Richard W. Sullivan,
claiming to be the CFO (while working directly under Mr. Schwab the CEO of Ephor Inc.)

filed an untruthful Financial Affidavit with the District Court in an attempt to reduce the

amount of Indemnification immediately payable to me. During that same month Mr.

 

 
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- Schwab was in another division of District Court in El Paso County attempting Mortgage
Fraud (CRC Procedure 120) for a million dollar real estate property, until the District
Attorneys office became involved. As further reference to real estate and personal issues
2008CV792, 2008CV1550 and 2008CV5830 are just a few of Mr. Schwab’s and Mr. Taylor's
District Court cases accessible via public records. (Exhibit 2, E] Paso County Court Public
Records).

Because Ephor, Inc., being controlled by Mr. Schwab, Mr. Taylor and Mr. Sullivan,
withheld court ordered Indemnification (the only amount that has ever been paid to date
was $12,000 in May 2012), and due to other issues, my first attorney withdrew in March
2012. Mr. David Wollin’s of David Wollins, P.C., made his appearance on my behalf under
2011CV1883 in April of 2012. Mr. Wollins would not represent me under this Bankruptcy
proceeding; however, he is still engaged as my attorney for District Court proceedings
under 2011CV1883. Against my desire all actions concerning all parties under
2011CV1883 have been “STAYED” as a consequence of Mr. Schwab’s bankruptcy.

Your Honor, | am personally writing this legal brief and objection to let you and the
Federal Court know how important it is for Mr. Schwab to be required to attend future
hearings and court actions in District Court under 2011CV1883, not only on my behalf, but
also concerning Ephor, Inc. My fear is that somehow Mr. Schwab will use this Chapter 13
Bankruptcy proceeding to avoid his legal requirements to appear in El Paso District Court
where he can further be held accountable for his self-dealing actions, including the Fifth
Verified Contempt of Court hearing that was scheduled and ongoing October 16, 2013. At
that time Mr. Schwab surprisingly notified the District Court about this Bankruptcy case.

According to Mr. Schwab’s (Debtor’s Amended Plan dated December 31, 2013), Ephor,
Inc. owes me money. The District Court has not attempted to obtain nor awarded me any
type of judgment against Mr. Schwab. Nor do I agree with Mr. Schwab's Bankruptcy Plan
(Doc #1, pg 29 of 47 filed October 15, 2013) showing the El Paso County Court Clerk as a
Creditor representing me or otherwise. As I stated earlier we were actually in the
courtroom on October 16, 2013 beginning Mr. Schwab’s show cause hearing when he used
this bankruptcy process to immediately delay that hearing. Nevertheless, as per Judge
McHenry’s ruling’s during the last couple of years, and notwithstanding select percentages

and forthcoming financial affidavits that are still unfiled etc... Ephor, Inc. and other parties

owe me an amount to be determined at trial under 2011CV1883.

 

 
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To keep my comments brief, | will plainly state that after 20 months with District Court
hearings focused almost solely on Indemnification, this due to Mr. Schwab's purposeful
obfuscation, financial manipulation, delays, and soon to be proven fraud, theft, and perjury
I should finally have my day in District Court. My family and I have been severely harmed
by actions of Mr. Schwab. My fifteen claims against all parties are currently scheduled for
Trial by Jury in May 2014. Besides Mr. Schwab being on record stating that “He isn’t going

to pay Mr. Wein one penny.” History and further objection reasoning is listed below:

Prior to a sworn 30 (b)(6) corporate deposition of Mr. Schwab the CEO of Ephor, Inc.,
conducted on November 15 and December 5, 2012, Mr. Wein was fortunate enough to
discover a front company ARES MANAGEMENT GROUP, LLC via internet search, and not by
or due to any actions or due to the few documents that either Ephor, Inc., corporate officers
or third party defendants provided. During the deposition Mr. Wein immediately became
aware that Ephor, Inc. officers Schwab, Taylor and Sullivan had committed fraud, filed a
false affidavit, were controlling the company CPA firm of Wiechmann Boyce reports such
that they were not allowed to produce true and accurate GAAP or FAS standard records,
and that these three corporate officers were involved in an Employment Tax Evasion
Scheme.

ARES MANAGEMENT GROUP, LLC a Nevada, Corporation, owned by Mr. Schwab, Mr. Taylor
and Mr. Sullivan, hatched a scheme in September 2011 to avoid reporting to the IRS, and to
the District Court of E] Paso County, among others, the withholding of tax payments. This
was partly accomplished by obscuring the real purpose and destination of these payments
by depicting non-itemized and non-personnel corporate deductions under the accounting
title of "Consulting Expense". As can be seen in (Exhibit 3, Ruling on Defendant David
Wein’s Verified Contempt under 2011CV1883 on March 22, 2013) in totality, and via the
excerpt below from page 5 of Judge McHenry’s Ruling, the purpose and the results of this
Tax Evasion Scheme allowed the depositing and subsequently withdrawing of funds,
directing corporate payments to ARES MANAGEMENT GROUP, LLC, and further into
individual bank accounts for each of the three Ephor, Inc. officers who were owners of
ARES MANAGEMENT GROUP, LLC, for an amount over $220,000 dollars.

“Mr. Taylor, Mr. Sullivan and Mr. Schwab formed ARES Management Group, LLC, in
September 2011, the same month that Defendant Wein moved the court for advancement
or indemnification of his legal fees pursuant to Ephor’s bylaws. They did this for the sole
purpose of diverting funds from Ephor, Inc., to a Nevada corporation, ARES
Management Group, LLC, to be used as an undisclosed conduit to pay wages to Messrs.
Sullivan, Taylor and Schwab for services rendered to Ephor.”

 
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The purpose for hiding and not reporting these funds among others was:

1. By conducting detailed planning and execution for tax evasion, including the hiring of
several interstate legal and CPA firms, for the purpose of setting up a Tax Scheme allowing
the three officers Schwab, Taylor and Sullivan to avoid payroll tax withholding. Thus to
avoid reporting and the withholding of taxes, which almost certainly provided a benefit to
each of them for tens of thousands of dollars in Federal, State, FICA and Medicare taxes
which they were legally required to pay.

2. By hiding from the District Court, while subsequently starving out Mr. Wein’s attorneys,
those amounts that were secretly being distributed to each of the three Ephor, Inc. officers,
such that they would not have to claim they were in fact being compensated by Ephor, Inc.
Nor according to these three officers, including a signed affidavit by Mr. Sullivan in January,
2012, who claimed during court hearings to be the CFO of Ephor, Inc., did the corporation
have sufficient funds available to pay any of the court ordered indemnification to Mr. Wein.
*This is now the law of the case under 2011CV1883 and includes a $10,000 court fine and
$100.00 per day for each day, beginning with March 23, 2012 that Ephor, Inc. does not pay
the Indemnification to Mr. Wein. (Exhibit 3, Ruling on Defendant David Wein’s Verified
Contempt under 2011CV1883 on March 22, 2013).

3. To allow these three corporate officers to evade Federal and Internal Revenue Service
tax laws, notwithstanding or including failure to withhold, failure to file withholding,
failure to pay tax, and failure to file appropriate tax returns.

4. Concerning Ephor, Inc., a C Corporation and separate taxpaying entity, the company
could misstate its tax basis concerning contractor or employee withholding, and inevitably
the “consulting expense” deduction against revenues. I'll remind the court that as recently
as Mr. Schwab’s last deposition in December 2012, that he had stated for the record that he
had check writing authority and was the President and CEO of Ephor, Inc.

Respectfully Submitted,

/s/ David L. Wein

Attachments:

Exhibit 1 Official Form 10

Exhibit 2 El Paso County Court Public Records

Exhibit 3 Ruling on Defendant David Wein’s Verified Contempt under 2011CV1883 on
March 22, 2012

Mailing Address: Mr. David L. Wein
4164 Austin Bluffs Pkwy, #236 Colorado Springs, Colorado 80918.

A copy of this written objection to Chapter 13 Debtors Amended Plan has been provided to
parties including Debtors attorney.

 

 
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DISTRICT COU RT, EL PASO COUNTY, COLORADO

2708. Tejon Street

Colorado Springs, Colorado $6903-2209

Mailing address: P.O. Box 2986
Colorado Spri

   

 

Plaintiff:

EPHOR, INC.

Defendant:

DAVID WEIN

VS.

Third Party Defendants:

MARK SCHWAB AND JAMES TAYLOR.

& COURTUSE ONLY &
Case No. LICV1883

 

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Courtroom W456

 

 

RULING ON DEFENDANT DAVID WEIN’S VERIFIED FOURTH MOTION FOR
CONTEMPT

 

 

 

This matter came before the court for a Show Cause Hearing on Defendant David Wein’s
ified Fourth Motion for Contempt. Evidence was received on January 31 and February 1,

The court hereby makes the following findings of fact and conclusions of law and enters
the » folk owing order,

Statement of the Case

    

1. Plaintiff is a Wyoming Corporation in the business of training United States servicemen
and competes for contracts to provide those services to the United States government.
Detendant David Wein was the Chief Financial officer and a director of Plaintiff, Ephor
Inc. Third Party Defendant Mark Schwab is the President and Chief Contracting Officer,
as well as a director of Plaintiff Ephor, Inc. Third Party Defendant James Taylor is the

Secretary and Chief Operations Officer and a director of Plaintiff, Ephor, Inc.

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On or about February 17, 2011, defendant was terminated from his position as chief

fmancial officer of plaintiff. On or about March 15, 2011, defendant was removed as a
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director of plaintiff Plaintiff alleges that defendant entered into a promissory note that

constituted a conflicting interest transaction which warranted his termination. Plaintiff

has brought claims for theft of trade secrets, civil theft, breach of third-party beneficiary
contract, and breach of fiduciary duty.

 

 
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Defendant has denied the claims and brought counterclaims and third-party claims for
breach of the articles of i incoxporation, breach of the corporation’s bylaws, breach of a
compensation agreement, breach of a resiricted stock agreement, civil theft, conversion,
breach of an executive compensa Hon agreement, violations of the Wyoming Business
Corporation act, bad faith trade secret misappropriation, breach of fiduciary daty, tortious

interference with con tractual relations, and civil conspiracy.

      

4. On November 23, 2011, Defendant Wein filed 2 motion for advancement of his legal
expenses associated with the case. He argued that Plaintiff's bylaws required
advancement and indemnification of legal expenses “if any person is made a party to or is
involv ed in any proceeding because such person is or was a director or officer of the

orpora tion. * On December 27, 2011, the court granted this motion pursnant to W
Siat, Ann. § 17-16-854 and ordered advancement of $106,060 in legal fees to be paid by
January 10, 20 B12. Plaintiff moved for a stay of this order which the court granted on
January 10, 2012. After a hearing on this issue on February O12, the court rescinded

 

 

    

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its previous orde et. The court granted Defendant’s request for advancement of legal

 

expenses but decided to proceed in piecemeal fashion with periodic advancement of
portions of the necessary lecal expenses.
5, On February 23, 2012, the e court ordered plaintuif to make a payment of $12,000 by 4
p.m. on February 27, 2012 to Defendant Wein. On February 12, plai tiff filed a
motion to stay payment in Which Plaintiff claimed a present inability to pay the $12,000.
The court denied the request for a stay. The payment was not nade. On Match 1, 2012,
defendant filed a motion for contempt citation based on the failure to pay the $12,000.

    

 

   

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6. A show cause hearing was scheduled for May 25, 2012. Plaintiff made the $12,006
payment on May 23, 2012, and the parties stipulated to vacate the show cause hearing
and conduct a case management conference. At the case management conference a new
trial date was chosen because the failure to pay Defendant’s leg 1 expenses had hindered
Defendant's ability to prepare for trial. In ‘addition, further argument was heard on the
issue of advancement and indemnification of legal expenses incurred by defendant. The
court ruled that not all of defendent’s legal expenses fell within the indemnification and
advancement requirements of the bylaws. The court ruled that 47% of defendant's legal
fees associated with the substantive causes of action fell within the bylaws, and 100% of
defendant's legal fees associated with obtaining indemnification a
within the bylaws. The court ruled thet all legal fees were subject to review by the cout
for reasonableness. This roling resulted in Plaintiff owing a balance of approxime
513,000 as of that date. The court ordered Plaintiff to make the payment by June 5

The payment was not made. On June 8, 2012 Defendant Wein filed his first Motion fo for
Contempt Citation based on the failure to pay the $13,000.

 

 

 

  

 
  

       

  

 
 

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The show cause hearing related to the $ 13,000 was sche neck led for July 20, 2012, but this
was rescheduled to August 16, 2612, and this was resched i again due to various
defects in service of the citation to show cause. An Amende d Motion for Contempt
Citation was filed August 15, 2012, and a Second Amended Motion for Contempt
Citation was filed September 7, 2012. The show cause hearing was scheduled for

   

 

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November 8, 2012. Legal issues arose because Defendant put the directors of Ephor on
notice that the contempt citation was being sought not only against Ephor, Inc. but also
against the directors personaly: and therefore ¢ the possibility of jail, as both a remedial

 

 

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and punitive sanction, was being sought. This required the directors, including Richar¢
Qaab ipa +

Sullivan, Ephor’s Chief “Financ! ial Officer, to 0 obtain their own counsel to defend them on

the conternpt citation.

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At hearings on August 16 and 27, 2012, the cowt ordered discovery of various financial
documents of Plaintiff Ephor, inc. 80 et Detendans t could adequately prosecute the

contempt. Specifically, the court ordered discovery of Ephor’s balance sheets, cash flow
statements, bank account ements, income, accounts payable (including payroll

information) and other accounting records fe or the months of January te October 2012
The court ordered Ephor to interpret the court's discovers y order broadly i in the event the
was € question about whether any particular document should be disclosed. The cour

vamed Ephor that failure to comply with the discovery order could result in the court
taking adverse inferences against it at the show cause hearing.

 

 

 

    

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On October 1, 2012, the court stayed the substantive action and vacated the second trial
date because it was apparent that Plaintiff's failure to abide by the court’s order te
advance payment of Defendant's legal expenses was prohibiting substantive preparation
of the case. The Third Amended Motion for Conte empt Citation was filed October 15,
2012, and the show cause heari ing was scheduled for December 12, 2012.

 

  

10. Much confusion existed between the parties and the court about the appropriate
procedures to follow and the possible sanctions that could be imposed when contempt is
being sought against a corporation which, by necessity, must act through its officers.
When a corporation is ordered to make a payment, serious questions arise as to whether
the court necessarily has jurisdiction over a vy individual officer such that jail could be
imposed for failing to abide by the court order. Because proceeding against the directors
personally gave them a right to remain silent, Defendant \ was unable ic depose Ephor's
chief financial officer. The deposition was necessary to accurately interpret the financial
records that had been disclosed. Therefore, to expedite matters, Defendant decided to
fotego prosecuting the contempt against the directors personally. In this pesture, the
directors were no longer in danger o aoing to jail and therefore no longer had a rig
remain silent. Defendant Wein then requested, and the court granted, a deposition of the
chief financial officer of Ephor, Richard Sullivan, for the purpose of prosecuting the
contempt.

 

  

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Defendant Wein made efforts to schedule the deposition and Plaintiff Ephor acted as if it
would coope however the deposition did not occur because Mr. Sullivan suddenly
resigned 1 his position and left the country, ostensibly for the purpose of taking a new
defense contract and working in Afchanistan. The show cause he aring of December 12,
2012, did not occur, but the court and counsel had discussions about the sanctions which
were possible once the show cause e hearing was finally held. Defendant Wein argued that
Ephor’s officers may be jailed as a punitive sanction because the corporation may only
act through its officers. Plaintiff Ephor ebjected. The court ruled that jail was not a

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‘sible sanction because the court did not have ju
and because Defendant Wein had previously
against the officers personally

 

wisdiction over the directors personally
fthdawn - his request to seek sanctions

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12. Defendant Wein filed his Fourth Amended Motion for Contempt Citation on December
20, 2012 seeking both punitive and remedial sanctions in the form of fines,
unprisonment, and attorney fees. Thereafter the deposition of Mark Schr wab was taken,
and the show cause hearing was finally held on January 31 and February 1, 2613.

 

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3. After receiving evidence at the show cause hearing, the parties elected to delay a ruling
from the court so that the parties could attempt to reach a negotiated settlement. Such
efforts failed and both sides have submitted their closing arguments in writing. This
ruling follows.

Statement of the Issues Presented ta the Court

14. The issue presented to the court is whether Plaintiff Ephor, Inc. should be found to be in
contempt of this court’s order to pay Defendant Wein his legal expenses as required by
Ephor’s bylaws when it failed to pay the $13,016.07 by Fane 5, 2012, as ordered by the
conuton May 25, 2012

   

15. Defendant Wein seeks punitive and remedial sanctions in the form of fines,
imprisonment, attorney fees and costs. Defendant Wein argues that Plaintiff's decisi
terminate his employment and thereby deprive him of an income, along with Plaintiff
failure to abide by its own bylaws which require indemnification of his legal expenses,
has frustrated his ability to defend himself in this action. Defendant argues that
Plaintiff's flouting of the court’s order has insulted the dignity of the court. Defendant
argues that because a corporation may only act through its officers, imprisonment of the
culpable officers should be a viable sanction.

     
 

 

 

 

 

 

16. Plaintiff Ephor, Inc. defends the contempt citation by arguing a present inability to pay.
Plamtiff Ephor, Inc. mugues it has not had the ability to pay since the court entered the
order on Me Plaintiff argues that its Income has not been sufficient te
it ns “and Simiuifaneously comply with the court’s order. Plaintiif
t ‘yret over compliance with
+ and such ¢ a choice should not be. considerec contempuions, Plaunti
argues That im ‘prisonment is not a viable sanction because the our has already ruled on
thig issue and Mr. Schwab relied on the court’s ruling by giving up his right to remain
silent at the deposition or to have counsel represent him personally.

 

    

   

 

Applicable Law

 

17, CREP 107(a} defines contempt, in part, as “behavior that obstructs the administration of
justice: disobedience or resistance by any person to or interference wi bh any lawful writ,
process, or order of the court; or any other act or omission desi contempt by the

 

    

statutes or these rales.”

 

 

 
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18. Remedial and punitive sanctions may be combined by the court, provided, appropriate
procedures are followed relative to ea ah type of sanction and findings are made to
support the adjudication of both types of sanctions. CRCP 107fe).

 

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19. The standard of proof for punitive contempt is proof beyond a reasonable doubt. CRCP
107(d}(1). The standard of proof for remedial contempt is by a preponderance of the
evidence. CRS 13-25-127(2}.

   

20. In a case of indirect remedial contempt, the moving party has the burden of proof,

However, the contemnor has the burden of proving ae present inability to comply with

   

the court’s prior orders. Marriage of Lamutt, 881 P.2d 445 (Colo. app. 1994). Ina case
of indirect punitive contempt, the contemmor has a probumption « of mnocence and a right

to remain silent, CRCP 107(d}(1).

21. In all cases of indirect conternpt where remedial sanctions are sought, the nature of the
sanctions and remedies that may be imposed shall b @ descr |

   
  

lin the motion or citation.
Costs and reasonable attorney's fees in connection with the contempt proceeding may be
assessed in the discretion of the court. CRCP 107(d¥2). Remedial sanctions for
contempt must be supported by findings of fact establi ishing the contemnor (1) did not
while with a lawful order of the court; (2) knew of the order; and G) has the present

fpr "Cyr, 186 Pad R8, 23 (Cole. App.

c forte

A of Lodeski, 107 P.3d at 1102: People ex rel’ PUC of Cole
Lnirup, 143 P.3d HL 30, 1124 (Cole. App. 2006}. The timing of determining the present

ability to comply is at the time of the show cause hearing. See fx re Marriage of Lodeski,
107 P. 2d at 1103.

 

  

 

    

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22. The conduct of the contemnor must be found to be willful before punitive sanctions may
be imposed. Willfulness is not a requirement for remedial contempt sanctions. i Re
Mde Cpr and Kay, 186 P.3d 88 (Colo. App. 2003). When the contemnor is a
nm, “willfhl” means a volitional act done by one who knows or should
te asonably be aware that his or her conduct is wrongful. Fletcher Cyclopedia of the Law

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of Corporations § 5070.10.

   

   

FBindines of Fact

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23. This court ordered Ephor, Inc. to pey $13,016.07 to Defendant Wein by May 25, |
indemnification of his legal fees associated with this action as required by Eph

  

bylaws.
24. Mr. Taylor, Mr. Sullivan and Mr. Schwab formed ARES Management Group, LLC, in

 

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eptember 2011, the same month that Defendant Wein moved the court for advancement
indemnification of bis legal fees pursuant to Ephor’s bylaws. They did this for the sole
purpese of diverting funds from. Ephor, Inc., to a Nevada corporation, ARES
Management Group, LLe ©, to be used as an undisclosed conduit to pay wages to Messrs.
Sullivan, Taylor and Schwab for services rendered to Ephor.

   

 

 

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245, In Defendant's Exhibit

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eward Checking Account statements, the
“payroll” entry on Sho ws a payroll payment of $21, 153.00. The direct
testimony of Mr. Sch: nwab confirms that the word “payroll,” with two “Is” referred te
Ephor employee payroll and “payroll,” with three “Is,” referred to money surreptitiously
deposited into the Nevada Cosporation, ARES Management Group, LLC, to pay Messrs.
Sullivan, Taylor and Schwab for services rendered to Ephor.

 

     

26. As early as D cember 2011, Ephor, Inc., and Messrs. Schwab, Taylor and Sullivan knew
that this Court had a awarded Mr. Wein indemnification and, initially, had awarded
$100,000 to be paid in indemnification. Ephor, Inc., and Messrs. Schwab, Taylor and
Sullivan knew that although the Court had vacated the initlal award of $106,060 in
immediate indemnification, it was to be expected that a significant amount would be paid

over the course of 2012 in indemnification to Mr. Wein.

 

 

   

 

27, Although Ephor, Inc., had available to it $166,000 at the end of 2011, Ephor, Inc., did not

 

      

create a reserve on its books te cover the court-ordered indemnification, and did not
reflect as a liability, either on a cash basis or an acerual basis, the indenmification
initially ordered by the Court.

28.1 & Ephor transferred to ARES Management Group LLC in
: sssrs. Sullivan, Taylor and Schwab wages for services
provided | to  Bpher notwithstanding ix knowledge of the Court-ordered

indemnification.

     

29. In the months after the court's order ee Ma ay 25, 2012, as noted by the documentary
evidence presented at the hearing, and as confi irmed on cross- examination, Ephor had
ufficient monies in its bank account te many months to pay the Court-ordered

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indemnification « £ $13,019.67, but chose not to do

¥.

30. The historic monthly cash flow of Ephor, Inc., during the 2012 calendar year was in
excess of $15,606 per month.

31. The present incoming cash flow to Ephor under the “MEP Contract” is $31,600 per

mionth.

32. Mr. Schwab acknowledged that Ephor still has the “present ability to pay,” even though it
aay mean that employees and other vendors may not get paid.

33 ability, from time to time after the

 

. Mr. Schwab also conceded thet Ephor, inc., ab
court's order + of May 25, 2012, to transfer portions of the ¢
o either the Court or to Mr. Wein, but chose not to do sa,

court-ordered indemnification

 

34. Detendant’s Exhibit 8, the Key Business Reward C Checking account state
6/3/12 “payrolll” entry for $6000.06. It also shows a “payrolll” entry on 6) 18/12 of
5550.00. Ephor’s bank statement for May 31, 2612 shows a balance of $9,221.64,

    

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. Defendant's Exhibt 10, the | Kev Business

. Defendant's Exhibit

. Defendant's Exhibits 24, 25

. Defendant's Exhibit 9, the Key Business Reward Chee cking account statement, shows

“payrolll” entries of $2700 on each of faly 5, 16, and 3G, 2012. The Fuly ending balance
was 840.477.7)

account staterient, shows

 

“payroll” entries of $2760 on each of A j 4 ind 27, 2012. The August ending
balance was $25,592.88

 

   
 

 

. Defendant's Exhibit 11, the Key Business Reward Checking account statement, shows
“paytolll” entries of $2700 on each of September 16, 24, and 26, “2012. The September

ending balance was $24,776.91,

 

the Key Business

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account statement, shows
12. The Octeber ending

9
12,

s oF $1080 on 10/5/12 and $1620 on 10/11/
balance was $11,149.41,

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vard Checking +
ayroll’ entrie i

and 26, the ARES Management Group LLC Chase Account
for the months of May, June, and July of 2012, show deposits transferred from the Ephor
“payroll” account outlined above.

 

Defendant’s Exhibit 43, an email attaching the Key Bank staternent, shows an available
balance in Ephor’s Key Bank Rewards { Checking Account of $18,533.07 as of January 4,
2013 — a mere three weeks before the show cause hearing. This same exhibit shows

 

 
    

 

Ephor’s tetel income for November 2012 as tor December 2012 as
FP
$29,515.18, and for January 2013 as $20,750.00.

Analysis and Lesal Conclusians

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.Wyoming’s corporate officer indemmification statutes, under which Plaintif

   

meorporated, are practically identical to those phacted Dy Colorado. See Wye. Stat. Ann.
§ 17-16-851 ef. seq., and CRS 7-109-101 et. seg. Colorado, Wyoming, and many other
jurisdictions have enacted these laws to encourage capa “ble e and responsible indiv iduals ta
accept positions in corporate management secure in the knowledge that expenses incurred
by them in upholding their duties will be borne by the corporation. “Teday, when both
the volume and the cost of litigation have increased dramatically, it would be difficult to
persuade responsible persons to serve as directors if they were compelled to bear
personally the cost of vindicating the propriety of their conduct in every instance in

which it might be challenged.” Weisbart v. Agri Tech, Inc., 22 P.3d 954, 958 (Colo.App.
2001).

   

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. Plaintiffs carrying on of this action for over a year and a half without advancing e wens

etiorney fees despite often having sufficient funds to do so, represents an intentional 2
egr regious breach of its bylaws. Because a bylaw constitutes a contract between the
shareholders and the company, and because courts construe such bylaws according to the

 

  

general rules of contract interpretation, a court may net abrogate or modify a bylaw

 

 

 
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provision. ft is the court's duty to enforce them as they find them. PAP. Family
Holdings, LP. v. Stan Lee Media, ine. 252 P.3d 1, 4 (Colo. App. 2010).

43. This court did not draft Ephor’s bylaws. If plaintiff seeks to avail itself of the justice of
this court, it must c omply with the orders of this court. Plaintiff may disagree with the
court’s interpreta ion i ofits bylaws, buat it may not cook its books in an effort to avoid the
court’s order. Reasonable rainds may differ regarding the 47% formula the court enacted
to effectuate the indemnification provisions, but the court’s order of $13,000 was merely
a fraction of the foreseeable attorneys fees associated with is action. The court
understands that Ephor has difficult financial decisions to make, but intentionally de-
prioritizing the court’s order is not equivalent to a “present inability pte comply.” It is

eyond dispute that Ephor, Inc. flagrantly, continuously, and contempinously violated the
letter and the spirit of this court’s orders. The court has no desire to cause more financial
pain for Plaintiff. The court prefers Ephor’s fands to go to paying Defendant's
indemnification so that the metits of this dispute can be adjudicated, but the sanctions
available to the court are limited, and Ephor has left the court no choice but to impose a
monetary fine.

 

 

 
 

 

  
 

  
 

   

  

44. In regards to punitive lo bphee the court finds tha
reasonable doubt that () Ephor, Inc. was subject t

at Wein has proven beyend a
i's order of May 25, 2012 to

pay $13,016.07 to Detendant Ww em by Fone 5, 2012, GD Ephor had the ability te comply,
either in a lump sum or piecemeal, with the court’s onder in the months subsequent to the

   

 

order and up until the date of the show cause hearing, (iii) Ephor willfully failed to obey
the court’s order, and (iv} Ephor’s actions are offensive to the authority and dignity of the
court.

45, As a pumitive sanction for this behavior, the court hereby fines Ephor, Inc. $10,000.00 to
vindicate the dignity of the court. Said fine is to be paid into the court’s registry within

ve business days of this order. Said fine will not be suspe ended and is completely
independent of any 4 remedial sanctions imposed. Said fine is conrpletely Independent of
the indemnification ordered. The court declines to imprison any of Ephor’s officers as

part of the punis shment

    

  

46. In regards to remedial contempt, the court finds that Defendant Wein has proven by a
lerance of the evidence (and, in fact, beyond a reasonable doubt} that ( D Ephor
: subject to this court's order of May 25, 2012 to pay $13,016.07 to Defendant Wein
by fine 5, 2012, Gi) Ephor failed to obey the court’s order, and (iii) Ephor has the present
ability to comply with the court’s order and has had the ability to comply with the court’s
order in at least a a piecemeal fashion in the months subsequent to the order and leading up
to the show cause hearing.

 
 
 
 

 

   

47, As a remedial sanction for this behavior, the court hereby fines Ephor, lnc. $160.00 per
day beginning March 23, 20612 and until such time as the contempt is purged
complying with the court’s order of May 25, 2 O16. O7 to Defendan ;
In addition, as 4 remedial sanction, Defendant asonable attorney's

fees associated with prosecuting the contempt p be paid by Ephor,

   

   

   

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Inc. Defense counsel shall have 21 days to submit an affidavit of costs and fees, and
Ephor shall have 14 days thereafter to objet to the reasonableness thereof The court
declines to imprison any of Ephor’s officers as a remedial sanction.

 

48. In addition to imprisonment, a fine, and attorney fees and costs, Defendant Wein
requested a number of a dditional sanctions. Sp sevice ally, Defendant requested the co ourt

to (1) appoint a receiver for Ephor to manage its business and financial operations, (ii)
stay Ephor’s ability to prosecute its claims until it complies with the court’s
indemnification order, and/or (iii} dismiss Bphor ’s clanms without prejudice until it
complies. Defendant has not provided the court with legal authority demonstrating that
the court has the power to impose such sanctions under CRCP 107, therefore the cowt
declines said requests.

 

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WHEREFORE, Plaintiff Ephor, Inc. is fined $10,006 to be paid into the court's registry
within five business days of this order as a punitive sanction for being in contempt of this court's
May 25, 2012 order. Further, as a remedial sanction for being contempt, Ephor, Inc. is fined
$ 100. 00} per day Beginning S Mare eh2 23, 26 13,5 and uh neil s such h time as Ephor, Inc. has complied with
5.07 to Defendant Wein for his legal

 

 

  

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Done this 22" day of March, 2013.

   

 

Michael P. McHenry
District Court Judge

 

 
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CRS S35A54U!
inlic Trustee Foreclosure Sale No, EPC201102629

 

 

 

THE PROPERTY DESCRIBED HEREIN IS ALL GF
DF THE DEED OF TRUST

 

 

 

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Personal information

 

Schedule
No: 51363610475
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Location: = Q(io957 SiveR MOUNTAIN >? 3B

Mailing 10957 SILVER MOUNTAIN PT
Address: COLORADO SPRINGS CO 80908-1891

 

 

 

Legal Description

LOT 24 SLACK FOREST RESERVE FIL NO 2

Plat No: 12393

Market Information (2545

 

Levy Year: 2073 Mill Levy: 80.542 Exempt Status: Not

   

Exempt
Table Use Code Market Assessed Exempt
Value Value
Land SINGLE FAMILY 105359. 8390.
RES.

Land Sees) AND 5000 400

/ COA YE - :

imp GOOD CUALIT 856160 52230

imp Sheds/Mist =--ss7487>—~—t—“‘<«é‘“‘«*«i

Total Value$  774006«—s 1620

 

 

 
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Tax Entity and Levy Information <.

 

( District: JB? }
. , Contact
Taxing Entity Contact Name Phone
= one . FINANCIAL (719) 520-
mei . ;
EL PASO COUNTY “SERVICES 6498
EPC ROAD & BRIDGE (719) 520-
(UNSHARED) 6498
ACADEMY SCHOOLNO 20  TOMGREGORY — {710 294
PIKES PEAK LIBRARY MIKE VvaRNET (719) SST
6333
FALCON FIRE PROTECTION TRENT HARWIG ee 495-
KIOWA CONSERVATION PAM BREWSTER (303) 621-
Kad

Sale Information

( Click on the row for further information }

“Seq# Sale Date Sate Price "Sale Type

 

  

 

 

Land information

Seq # Use / Exempt: Area
1 SINGLE FAMILY RES. 2.51 acres
2 WELL AND SEPTIC 0

Residential Information

; Glick on the row for further information 3

Bldg # Year Built Style Total Living Area’

 

 
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Commercial Information

( Click on the row for further information j

 

Bldg # Admin Code Year Built Neigh # Area

   

We have made a good-faith effort to provide you with the most recent and most accurate
information available. However, if you need to use this information in any legal or official
venus, you will need to obtain official copies from the Assessor's Office. Do be aware that
this Cala is subject to change on a daily basis. If you believe that any of this information is
incorrect, please call us at (719) 520-6600.

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Schedule No: 5136301019

 

 

Reception: 207046341 Book: 0 Page: 0

Sale Amount: $ 260000 Date: 04/05/2007 Doc Fee: $26.06
Code: Good saie: verified Verified: Yes eye WARRANTY
Codez2: Vacant tand

Grantor: Grantee:

(eLack FOREST PARTNERS LiC $9) [SCHWAB MARKT 3B

Amt. Financed: $ 870624 Down Pmt: $0

Financing: New 8.75% Fixed Term: lyr Omo

Points: © by: Condition:

Balloon: Y Amount $ 948073 Due: 03/26/2008
instaliment Contract: N Date: 0

PP/Good Will: $0 TradelExch: 36

interest: 100% Finance Fee: 30

Related Parties: N Land inspection: ¥

We have made a good-faith effort to pravide you with the most recent and most securate
information available. However, if you need to use this information in any legal or officia
venue, you will need to obtain official copies frarm the Assessor's Office. Do be aware that
this data is subject to change on a daily basis. if you believe that any of this information is
incorrect, please call us at (719) 520-6600.

 

 

 
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Schedule No: 5136304019
Reception: 208026222

Sale Amount: 50
Code: -
Grantor:

(scHWAs MARK T_
Amt. Financed: $
Financing: %
Points: by:
Balloon:

     
 

installment Contract:

PP/Good Will: S
Interest :
Related Parties:

2

 

   

Book:
Date: 03/05/2008
Verified: AIA

Grantee:
BTAYLORIAMES HOU
Down Pmt: $
Term: yr mo
Condition:
Amount 5
Date:
TradefExch: $
Finance Fee: $
Land Inspection:

  
 

 

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Doe Fee: $0.00

Deed Type: QUIT CLAIM
DEED

Due:

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infermation available. However. if you need to use this information in any legal or official
venue, you will need to obtain official copies from the Assessor's Office. Do be aware that
this data is subiect te change on a2 daily basis. if you believe that any of this information is

nmcorrect, please callus at (719) 520-6600.

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Schedule No: 5136201019

 

 

 

 

Reception: 21 “03747 Book: Page:

Sale Amount: $ 580006 Date: 04/18/201" Doc Fee: $55.00
Deed

Code: REO Gymi Finins!. Short PreFC Verified: Yes Type: WARRANTY
DEED

G . Grantee:

rantor: {ALMQUIST-BALOWIN SUSAN RENEE $])

Amt. Financed: 5 477000 Bown Pmt: 3¢

Financing: New 3.625% Variable Term: 30 yr Omo

Points: 2 by: Condition: Poor

Bailoon: N Amount: $6 Due: 0

installment Contract: Date: Oo

PP/IGood Will: 20 Trade/Exch: $0

interest > 100% Finance Fee: $6

Related Parties: N Land inspection:

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copies from the Assessors Office. Do be aware thal this cata is

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call us ali? 7193 §20-6600.

 

 

 
